          Case 3:22-mj-03158-AGS Document 1 Filed 09/01/22 PageID.1 Page 1 of 2
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                            UNITED STATES DISTzuCT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA,                 )                          '22 MJ03158
                                                )    Magistrate Case No.
                   Plaintifl.                   )
                                                )    COMPLAINT FOR VIOLATION OF:
                                                )
                                                )    Title 8, U.S.C., Section 1326
      Saengchol PAK                             )    Attempted Entry After
                                                )    Deportation
                   Defendant.                   )
                                                 )


            The undersigned complainant being duly sworn states:

           On or about August 31 ,2022, within the Southem District of California,
      Defendant, Saengchol PAK, A.K.A. Sang Chul PARK, an alien, who previously had
      been excluded, deported and removed from the United States to South Korea,
      attempted to enter the United States with the purpose; i.e. conscious desire, to enter the
      United States at the San Ysidro Port of Entry, without the Attomey General of the
      United States or designated successor, the Secretary of the Department of Homeland
      Security (Title 6, United States Code, Sections 202(3) and (4), and (557), having
      expressly consented to the defendant's reapplication for admission into the United
      States; in violation of Title 8, United States Code, Section 1326.

             And the complainant states that this complaint is based on the attached statement
      of facts, which is incorporated herein by reference.

                                             6to,,'
                                           ffiAINANT
                                            Adriana Rosas-Carranza, CBP Enforcement Offi cer
                                            U.S. Customs and Border Protection

      Swom and attested to under oath by telephone, in accordance with Federal Rule of
      Criminal Procedure 4.1 on 1't of September 2022.


                                            HON. ANDREW G. SCHOPLER
                                            LINITED STATES MAGISTRATE JL]DGE
     Case 3:22-mj-03158-AGS Document 1 Filed 09/01/22 PageID.2 Page 2 of 2




                       PROBABLE CAUSE S'TATEMENT


On August 31, 2022, at approximately 12:34 P.M., Saengchol PAK, A.K.A. Sang
Chul PARK, (Defendant), attempted to gain entry into the United States from
Mexico by eluding inspection concealed in the trunk of a vehicle at the San Ysidro
Port of Entry. During the primary inspection, the primary Customs and Border
Protection (CBP) Officer conducted a cursory inspection of the vehicle and
discovered Defendant, who was one of two people concealed therein. The vehicle
was referred to secondary for further inspection.

In secondary, Defendant was assisted out of the trunk of the vehicle and escorted
into the security office. Defendant's fingerprints were queried by fingerprint and
photograph comparison through the Integrated Automated Fingerprint
Identification System (IAFIS) which iinked Defendant to Federal Bureau of
Investigation and Department of Homeland Security service records. Service
records identif, Defendant as a citizen of South Korea with no legal documents to
enter the United States. Defendant was ordered deported from the United States by
the Immigration Judge on December 28, 1998. Defendant was not physically
removed from the United States until May 15,2006, through the Los Angeles,
Califomia airport. Defendant was most recently removed from the United States
on August 18,2021 , through the San Francisco, Califomia airport. Department of
Homeland Security records contain no evidence Defendant has applied for or
received permission from the United States Attomey General or designated
successor, the Secretary of the Department of Homeland Security, to legally seek
reapplication for admission into the United States.

At  approximately 3:29 PM, Defendant was advised of his Miranda Rights.
Defendant elected to waive his right to counsel and gave the following statement.
Defendant admitted he is a citizen of South Korea with no legal documents to enter
the United States. Defendant admitted he was deported from the United States and
has not applied for permission to reenter. Defendant admitted he attempted to
enter the United States concealed in the trunk of a car. Defendant stated he was
going to pay a smuggling fee of approximately $18,000 upon his successful entry
into the United States. Defendant stated he was going to Los Angeles to reunite
with his family.
